Case 1:18-cv-00124-GJQ-RSK ECF No. 77-1 filed 10/22/18 PageID.664 Page 1 of 14




                    EXHIBIT A
             Served with 9/21/18 Rule 11 Sanctions Motion (See ECF No. 65)
     Case 1:18-cv-00124-GJQ-RSK ECF No. 77-1 filed 10/22/18 PageID.665 Page 2 of 14



     	

     Daniel Rudd <daniel@stock20.com>                                    Mon, Aug 20, 2018 at 8:50 PM
     To: "Bogren, Michael" <mbogren@plunkettcooney.com>, Michelle McLean
     <michellem@bolhouselaw.com>, Steve Schultz <sschultz@tanisschultz.com>

         Mr. Bogren, Ms. McLean, & Mr. Schultz,

         Please let me know your availability for a meet and confer.
         I should be able to make something work on any of these days: 8/28, 8/29, 8/30,
         8/31, 9/4, 9/5, 9/6 (last day).

         I believe that an in-person meeting would be more productive, but I'm open to a
         telephone conference if we can make those arrangements work for everyone more
         easily.

         Also, we might be able to streamline the meeting if we hash out the easy parts by
         e-mail in advance (magistrate judge, discovery plan, favored ADR method, etc..).

         I understand it's my responsibility to schedule this meeting, but I welcome your
         thoughts on handling it efficiently. I don't mind facilitating the discussion but I
         believe Mr. Bogren has been through this process many times in the Western
         District.

         I'll review the rules cited in the order, start working on my portions of the report and
         wait for your input in scheduling the meeting.

         If anyone already knows they are opposed to a magistrate referral, it might be
         helpful to disclose that right away so no one else needs to weigh that issue. I do not
         think I am opposed. While I'm impressed with Judge Quist, the magistrate on our
         case appears to be a very experienced jurist as well.

         Sincerely, Daniel Rudd




             052 order setting Rule 16 conference.pdf
             27K




served with 9/21/18 sanctions motion     1 of 13                             Exhibit A
     Case 1:18-cv-00124-GJQ-RSK ECF No. 77-1 filed 10/22/18 PageID.666 Page 3 of 14




                                                                            Mon, Aug 27, 2018 at 9:41
     Callahan, Robert <RCallahan@plunkettcooney.com>
                                                                                                  AM
     To: Daniel Rudd <daniel@stock20.com>, "Bogren, Michael" <MBogren@plunkettcooney.com>, Michelle
     McLean <michellem@bolhouselaw.com>, Steve Schultz <sschultz@tanisschultz.com>
     Cc: "Oostema, Cherie" <COostema@plunkettcooney.com>

        Mr.	Rudd:		I	am	a	partner	of	Mr.	Bogren,	and	shall	be	entering	my	appearance	in	this	
        lawsuit.	I	will	send	you	my	thoughts	on	the	provisions	which	should	be	included	in	the	
        Joint	Status	Report.			I	am	generally	available	August	28-30,	and	in	the	morning	of	
        August	31.		I	anticipate	counsel	for	co-defendants	shall	similarly	provide	their	
        information	as	to	availability.	

        	

        From: Daniel Rudd [mailto:daniel@stock20.com]
        Sent: Monday, August 20, 2018 8:50 PM
        To: Bogren, Michael; Michelle McLean; Steve Schultz
        Subject: 18-cv-124 Rudd v Norton Shores, Meet & Confer

        [Quoted text hidden]



     Daniel Rudd <daniel@stock20.com>                                    Mon, Aug 27, 2018 at 6:53 PM
     To: "Callahan, Robert" <RCallahan@plunkettcooney.com>
     Cc: "Bogren, Michael" <MBogren@plunkettcooney.com>, Michelle McLean
     <michellem@bolhouselaw.com>, Steve Schultz <sschultz@tanisschultz.com>, "Oostema, Cherie"
     <COostema@plunkettcooney.com>

        Thank you Mr. Callahan,
        I'll watch for your written comments. Ms. McLean and Mr. Schultz: can you let us
        know your availability from Wed. the 29th through the morning of August 31st?
        -Daniel Rudd
        [Quoted text hidden]




served with 9/21/18 sanctions motion      2 of 13                            Exhibit A
     Case 1:18-cv-00124-GJQ-RSK ECF No. 77-1 filed 10/22/18 PageID.667 Page 4 of 14




     Callahan, Robert <RCallahan@plunkettcooney.com>                     Tue, Aug 28, 2018 at 9:56 AM
     To: Daniel Rudd <daniel@stock20.com>
     Cc: Michelle McLean <michellem@bolhouselaw.com>, Steve Schultz <sschultz@tanisschultz.com>,
     "Oostema, Cherie" <COostema@plunkettcooney.com>

        Here	are	my	thoughts	on	inclusions	in	the	Joint	Status	Report:

        Rule	26	Disclosures	–	Plaintiff	to	Defendants	–	October	13;	Defendants	to	Plaintiff	
        November	13	
        Limits	on	Discovery	–	Those	presumptive	limits	set	forth	in	the	Order	setting	the	
        hearing,	with	Interrogatories	being	25	single	part
        Time	for	Discovery	–	6	months
        No	Consent	to	Magistrate	Judge
        Motions	for	Joinder	and	Amendment	–	has	closed
        Experts	–	I	do	not	see	the	need	for	any	in	this	lawsuit
        Disclosure	of	ESI	–	through	Disc
        Attorney-Client	and	Work	Product	disclosure	–	We	have	“claw	back”	language	which	
        can	be	used	for	this
        Motions	to	Dismiss	or	Summary	Judgment	–	the	Norton	Shores	Defendants	anticipate	
        filing
        Alternative	Dispute	Resolution	–	Norton	Shores	defendants	believe	this	is	the	unusual	
        case	in	which	it	should	not	be	ordered
        Possibility	of	Settlement	–	Norton	Shores	defendants	believe	there	is	none
        Anticipated	Length	of	Trial	–	4	days,	with	2	allocated	to	plaintiff,	and	2	for	the	
        defendants.

        I	would	solicit	the	responses/opinions	on	these	proposals	from	counsel	for	co-
        defendants.

        From: Daniel Rudd [mailto:daniel@stock20.com]
        Sent: Monday, August 27, 2018 6:53 PM
        To: Callahan, Robert
        Cc: Bogren, Michael; Michelle McLean; Steve Schultz; Oostema, Cherie
        Subject: Re: 18-cv-124 Rudd v Norton Shores, Meet & Confer

        [Quoted text hidden]




served with 9/21/18 sanctions motion       3 of 13                             Exhibit A
     Case 1:18-cv-00124-GJQ-RSK ECF No. 77-1 filed 10/22/18 PageID.668 Page 5 of 14




     Daniel Rudd <daniel@stock20.com>                                   Tue, Aug 28, 2018 at 12:48 PM
     To: "Callahan, Robert" <RCallahan@plunkettcooney.com>
     Cc: Michelle McLean <michellem@bolhouselaw.com>, Steve Schultz <sschultz@tanisschultz.com>,
     "Oostema, Cherie" <COostema@plunkettcooney.com>

        Thank you Mr. Callahan,
        I still have some research to do on this but some initial clarifications may be helpful while
        we wait for feedback from the other defendants.

        1) I was intending to advocate for amendment of pleadings and joinder to be allowed (by
        leave granted) until 21 days after the close of discovery. If you intend to oppose that
        position can you help me understand your basis?

        2) Are you open to discussing a discovery plan which would allow for some limited initial
        discovery to occur during a brief time period---followed by the dispositive motions everyone
        wants to file--- THEN the remainder of discovery to proceed *if* claims survive? I think
        something of this nature would offer benefits to all parties. Defendants have the
        opportunity to avoid litigation (and discovery) which pertains to any claims that are not
        viable. If claims survive, it will be easy for me to obtain representation going forward
        (which would eliminate some of the frustrations associated with pro se litigants).

        Along those lines, I will do my best to research the rules carefully and maintain some
        objectivity in communicating with you. You can assume that my questions are only seeking
        whatever type of information is appropriate for you to provide under the obligations to seek
        concurrence and/or streamline litigation as much as possible. I don't expect you to advise
        me and it's fine to let me know you won't be answering. On the other hand, I'm open to
        your feedback, especially if it is helpful in avoiding anything that simply wastes time.

        Thanks,
        Daniel Rudd
        [Quoted text hidden]



     Daniel Rudd <daniel@stock20.com>                                   Wed, Aug 29, 2018 at 6:16 AM
     To: "Callahan, Robert" <RCallahan@plunkettcooney.com>
     Cc: Michelle McLean <michellem@bolhouselaw.com>, Steve Schultz <sschultz@tanisschultz.com>,
     "Oostema, Cherie" <COostema@plunkettcooney.com>

        Attorney Callahan,
        Could we schedule a conference for 1:00 pm on the 30th?
        If you would prefer to meet in person, I could come to the Plunkett Cooney Grand
        Rapids office.
        Otherwise, a phone call works for me. If we hear from Attorney Schultz or Attorney
        McLean we can make adjustments as needed, but I'd like to get something
        scheduled.

        -Daniel Rudd
        [Quoted text hidden]




served with 9/21/18 sanctions motion       4 of 13                               Exhibit A
     Case 1:18-cv-00124-GJQ-RSK ECF No. 77-1 filed 10/22/18 PageID.669 Page 6 of 14




                                                                            Wed, Aug 29, 2018 at 8:52
     Callahan, Robert <RCallahan@plunkettcooney.com>
                                                                                                  AM
     To: Daniel Rudd <daniel@stock20.com>
     Cc: Michelle McLean <michellem@bolhouselaw.com>, Steve Schultz <sschultz@tanisschultz.com>,
     "Oostema, Cherie" <COostema@plunkettcooney.com>

        Mr.	Rudd:		Any	conference	or	meeting	must	be	between	you	and	attorneys	
        representing	all	parties.	

        As	to	my	position	on	amendment	of	pleadings,	let	me	first	state	that	in	my	experience	
        as	an	attorney	in	federal	court,	which	includes	5	years	as	a	clerk	to	a	Magistrate	Judge,	
        this	court	is	extremely	reticent	to	allow	much	time	at	all	following	a	Rule	16	
        Conference	for	the	amendment	of	pleadings.		I	think	that	in	the	context	of	this	specific	
        case,	it	should	not	be	allowed	due	to	what	I	have	reviewed	to	date.		In	his	Opinion	
        granting	McIntire’s	motion	to	dismiss,	Judge	Quist	made	note	of	the	argument	that	an	
        amended	complaint	was	going	to	be	filed,	but	that	no	motion	for	leave	to	do	so	had	
        been	filed.		I	went	back	and	reviewed	your	briefing	in	opposition	to	that	motion	to	
        dismiss,	and	verified	that	such	an	amendment	was	forthcoming.		That	was	filed	on	
        June	1.		This	case	was	filed	almost	7	months	ago.		I	would	be	opposing	amendment	in	
        any	event	under	these	circumstances.		However,	the	position	to	allow	amendment	and	
        joinder	up	to	21	days	after	the	close	of	any	discovery	period	is	what	I	consider	the	
        antithesis	of	case	management	by	a	federal	court.		

        	

        From: Daniel Rudd [mailto:daniel@stock20.com]
        Sent: Wednesday, August 29, 2018 6:17 AM
        To: Callahan, Robert
        Cc: Michelle McLean; Steve Schultz; Oostema, Cherie

        [Quoted text hidden]
        [Quoted text hidden]




served with 9/21/18 sanctions motion       5 of 13                           Exhibit A
     Case 1:18-cv-00124-GJQ-RSK ECF No. 77-1 filed 10/22/18 PageID.670 Page 7 of 14




     Daniel Rudd <daniel@stock20.com>                                   Wed, Aug 29, 2018 at 9:49 AM
     To: "Callahan, Robert" <RCallahan@plunkettcooney.com>
     Cc: Michelle McLean <michellem@bolhouselaw.com>, Steve Schultz <sschultz@tanisschultz.com>,
     "Oostema, Cherie" <COostema@plunkettcooney.com>, admin@tanisschultz.com, Sally Ray
     <sallyr@bolhouselaw.com>, mmlflash@yahoo.com

        On Wed, Aug 29, 2018 at 8:52 AM, Callahan,
        Robert <RCallahan@plunkettcooney.com> wrote:

                Mr.	Rudd:		Any	conference	or	meeting	must	be	between	you	and	attorneys	
                representing	all	parties.	

        I agree, I propose we schedule the meeting at the Plunkett Cooney Grand Rapids office
        tomorrow afternoon or Friday morning. I will make either option work. This would afford Ms.
        Mclean and Mr. Schulz the opportunity to attend in person or by phone if they so choose.

        In spite of consderable effort (see below) there has been no response whatsoever from Mr.
        Schultz or Ms. McLean.
        The deadline is approaching quickly. In light of your limited availability I think the only option is
        to go ahead and schedule.

        I can call their offices with the time. If that still doesn't work, we can both make every effort to
        confer with them by phone before the joint status report is submitted.

        Sincerely, Daniel Rudd

        ****
        [Efforts to Include Attorneys McLean and Schultz in scheduling and establishing a
        discovery plan]

        -I originally contacted all partys by e-mail on 7/6/18 requesting a conference.
        -I followed up on 7/16/18 when Mr. Schultz appeared in the case.
        On 7/17/18, I noted the language of 26(f)(1) directing the parties to confer "as soon as
        practicable—and in any event at least 21 days before a scheduling conference is to be
        held or a scheduling order is due under Rule 16(b)."
        -Ms. McLean and Mr. Schulz indicated they would not confer while Def. McIntire's 12(b) motion
        was pending, but that motion was resolved on 8/8/18 with no indication of a willingness to
        confer or work toward agreements.
        -The order setting the Rule 16 converence date was issued on 8/20/18.
        -I e-mailed all parties on 8/20/18 providing a number of possible dates.
        -You (Attorney Callahan) e-mailed all the parties on 8/27/18 (thank you). This e-mail also
        requested that Ms. Mclean and Mr. Shultz would provide information as to availability.
        -Yesterday morning (8/28), my e-mail also indicated that we were waiting on a response from
        Ms. McLean and Mr. Schulz.
        Ms. McLean and Mr. Schultz have not given any response whatsoever. They have not
        even indicated when (or if) they intend to respond. I have not received any vacation auto
        responders or anything of that nature. Both of their firms have a number of attorneys
        and administrative staff. The 8/20/18 order was sent to redundant points of contact at
        both firms.
        ****




served with 9/21/18 sanctions motion         6 of 13                                   Exhibit A
     Case 1:18-cv-00124-GJQ-RSK ECF No. 77-1 filed 10/22/18 PageID.671 Page 8 of 14




                                                                                  Wed, Aug 29, 2018 at 10:01
     Callahan, Robert <RCallahan@plunkettcooney.com>
                                                                                                         AM
     To: Daniel Rudd <daniel@stock20.com>
     Cc: Michelle McLean <michellem@bolhouselaw.com>, Steve Schultz <sschultz@tanisschultz.com>,
     "Oostema, Cherie" <COostema@plunkettcooney.com>, "admin@tanisschultz.com"
     <admin@tanisschultz.com>, Sally Ray <sallyr@bolhouselaw.com>, "mmlflash@yahoo.com"
     <mmlflash@yahoo.com>

        Mr.	Rudd:		There	will	be	no	meeting	at	the	Grand	Rapids	office.		I	have	had	a	chance	to	
        review	the	FOIA	lawsuit,	and	am	rather	appalled	at	the	treatment	afforded	to	Mrs.	Hall	
        in	that	case.		Any	conference	shall	be	by	telephone.		All	parties	must	be	represented	in	
        any	conference	call.	

        	
        [Quoted text hidden]



     Daniel Rudd <daniel@stock20.com>                                   Wed, Aug 29, 2018 at 11:31 AM
     To: "Callahan, Robert" <RCallahan@plunkettcooney.com>
     Cc: Michelle McLean <michellem@bolhouselaw.com>, Steve Schultz <sschultz@tanisschultz.com>,
     "Oostema, Cherie" <COostema@plunkettcooney.com>, "admin@tanisschultz.com"
     <admin@tanisschultz.com>, Sally Ray <sallyr@bolhouselaw.com>, "mmlflash@yahoo.com"
     <mmlflash@yahoo.com>

        Mr. Callahan, it is unhelpful and offensive for you to suggest (in general terms and without any
        support) that I have mistreated your colleague severely enough to preclude the possibility of a
        meeting in person. I do not know the specific basis for your belief, but I do know you have only
        considered limited information from one side of a contentious lawsuit (where your firm
        received unfavorable rulings at every level of Michigan's state courts). I certainly disagree with
        your characterization of my interactions with Ms. Hall (who was easily the most courteous and
        professional attorney on the case). However, that is beside the point. As an attorney, you are
        expected to approach case management discussions from an objective and dispassionate
        position. Here, you have "reviewed" information from a different case, arrived at strong
        conclusions based on incomplete information, then announced your disparaging (and
        subjective) assumptions to the other attorneys in a manner that cultivates unjustified hostility.

        Most importantly, your remarks are counterproductive in accomplishing the tasks which we
        have been ordered to undertake. You could have simply stated that you would prefer to
        conduct the meeting by phone (or better yet: offered to initiate the conference call on your firm's
        equipment). Instead, your pejorative comments inject unnecessary hostility just prior to a
        meeting I am required to participate in. This is a lawsuit which alleges very bad behavior. I filed
        the lawsuit because I was appalled. However, as long as I must represent myself, I am working
        hard to separate those feelings from my discussions regarding case management. The law
        offers a mechanism for resolving difficult disputes in a safe and equitable manner. The officers
        of the court have an obligation to diffuse hostility in the proceedings. I would request that you
        refrain from commentary which cultivates hostility.

        Sincerely, Daniel Rudd
        [Quoted text hidden]




served with 9/21/18 sanctions motion        7 of 13                                 Exhibit A
     Case 1:18-cv-00124-GJQ-RSK ECF No. 77-1 filed 10/22/18 PageID.672 Page 9 of 14




                                                                                   Wed, Aug 29, 2018 at 10:17
     Michelle McLean <michellem@bolhouselaw.com>
                                                                                                          AM
     To: "Callahan, Robert" <RCallahan@plunkettcooney.com>
     Cc: Daniel Rudd <daniel@stock20.com>, Steve Schultz <sschultz@tanisschultz.com>, "Oostema,
     Cherie" <COostema@plunkettcooney.com>, "admin@tanisschultz.com" <admin@tanisschultz.com>,
     Sally Ray <sallyr@bolhouselaw.com>, "mmlflash@yahoo.com" <mmlflash@yahoo.com>

        We are filing a motion to dismiss next week and will be asking the Court to adjourn the scheduling
        conference.

        Michelle McLean
        616 531-7711
        Cell 616-706-1127
        Michellem@bolhouselaw.com

        -Please excuse any typos or errors as this message was sent from my    iPhone
        [Quoted text hidden]



     Daniel Rudd <daniel@stock20.com>                                    Wed, Aug 29, 2018 at 11:45 AM
     To: Michelle McLean <michellem@bolhouselaw.com>
     Cc: "Callahan, Robert" <RCallahan@plunkettcooney.com>, Steve Schultz <sschultz@tanisschultz.com>,
     "Oostema, Cherie" <COostema@plunkettcooney.com>, "admin@tanisschultz.com"
     <admin@tanisschultz.com>, Sally Ray <sallyr@bolhouselaw.com>, "mmlflash@yahoo.com"
     <mmlflash@yahoo.com>


        Ms. Mclean, I believe you are past the point where you can file a motion to dismiss. I do not
        believe that the intent to file a dispositive motion justifies adjourning the scheduling conference
        which is already past due. Unless the court orders otherwise, the meeting of the parties is
        ordered to occur at least seven days before the 9/13/18 scheduling conference.

        Mr. Callahan offered several possible times earlier this week, the last of which is Friday
        morning. Could we schedule a conference call on Friday morning? Mr. Schultz, is there a
        time Friday morning that would work for you?

        Sincerely, Daniel Rudd
        [Quoted text hidden]




served with 9/21/18 sanctions motion         8 of 13                                 Exhibit A
    Case 1:18-cv-00124-GJQ-RSK ECF No. 77-1 filed 10/22/18 PageID.673 Page 10 of 14




                                                                                Wed, Aug 29, 2018 at 12:21
     Michelle McLean <michellem@bolhouselaw.com>
                                                                                                       PM
     To: Daniel Rudd <daniel@stock20.com>
     Cc: "Callahan, Robert" <RCallahan@plunkettcooney.com>, Steve Schultz <sschultz@tanisschultz.com>,
     "Oostema, Cherie" <COostema@plunkettcooney.com>, "admin@tanisschultz.com"
     <admin@tanisschultz.com>, Sally Ray <sallyr@bolhouselaw.com>, "mmlflash@yahoo.com"
     <mmlflash@yahoo.com>

        Mr. Rudd-

        We also do not agree to any in person meetings with you. Any conferences should be conducted
        telephonically.

        Michelle McLean
        616 531-7711
        Cell 616-706-1127
        Michellem@bolhouselaw.com

        -Please excuse any typos or errors as this message was sent from my   iPhone
        [Quoted text hidden]



     Daniel Rudd <daniel@stock20.com>                                    Wed, Aug 29, 2018 at 12:30 PM
     To: Michelle McLean <michellem@bolhouselaw.com>
     Cc: "Callahan, Robert" <RCallahan@plunkettcooney.com>, Steve Schultz <sschultz@tanisschultz.com>,
     "Oostema, Cherie" <COostema@plunkettcooney.com>, "admin@tanisschultz.com"
     <admin@tanisschultz.com>, Sally Ray <sallyr@bolhouselaw.com>, "mmlflash@yahoo.com"
     <mmlflash@yahoo.com>

        Noted. The question was: "Could we schedule a conference call on Friday
        morning? Mr. Schultz, is there a time Friday morning that would work for you?"
        [Quoted text hidden]




served with 9/21/18 sanctions motion       9 of 13                                Exhibit A
    Case 1:18-cv-00124-GJQ-RSK ECF No. 77-1 filed 10/22/18 PageID.674 Page 11 of 14




                                                                                Wed, Aug 29, 2018 at 12:45
     Callahan, Robert <RCallahan@plunkettcooney.com>
                                                                                                       PM
     To: Daniel Rudd <daniel@stock20.com>
     Cc: Michelle McLean <michellem@bolhouselaw.com>, Steve Schultz <sschultz@tanisschultz.com>,
     "Oostema, Cherie" <COostema@plunkettcooney.com>, "admin@tanisschultz.com"
     <admin@tanisschultz.com>, Sally Ray <sallyr@bolhouselaw.com>, "mmlflash@yahoo.com"
     <mmlflash@yahoo.com>

        Mr.	Rudd:		It	was	not	my	intent	to	offend	you.		I	apologize	for	doing	so.		My	points	were	
        threefold:		there	will	be	no	activities	at	Plunkett	Cooney’s	Grand	Rapids	office;	any	
        conferences	must	be	by	telephone;	and	an	attorney	representing	each	party	must	
        participate.

        	

        From: Daniel Rudd [mailto:daniel@stock20.com]
        Sent: Wednesday, August 29, 2018 11:31 AM

        [Quoted text hidden]
        [Quoted text hidden]



                                                                                 Wed, Aug 29, 2018 at 1:10
     Michelle McLean <michellem@bolhouselaw.com>
                                                                                                       PM
     To: Daniel Rudd <daniel@stock20.com>
     Cc: "Callahan, Robert" <RCallahan@plunkettcooney.com>, Steve Schultz <sschultz@tanisschultz.com>,
     "Oostema, Cherie" <COostema@plunkettcooney.com>, "admin@tanisschultz.com"
     <admin@tanisschultz.com>, Sally Ray <sallyr@bolhouselaw.com>, "mmlflash@yahoo.com"
     <mmlflash@yahoo.com>

        I am available in the afternoon on Friday but not the morning.

        Michelle McLean
        616 531-7711
        Cell 616-706-1127
        Michellem@bolhouselaw.com

        -Please excuse any typos or errors as this message was sent from my   iPhone
        [Quoted text hidden]



     Daniel Rudd <daniel@stock20.com>                                     Wed, Aug 29, 2018 at 1:59 PM
     To: Michelle McLean <michellem@bolhouselaw.com>
     Cc: "Callahan, Robert" <RCallahan@plunkettcooney.com>, Steve Schultz <sschultz@tanisschultz.com>,
     "Oostema, Cherie" <COostema@plunkettcooney.com>, "admin@tanisschultz.com"
     <admin@tanisschultz.com>, Sally Ray <sallyr@bolhouselaw.com>, "mmlflash@yahoo.com"
     <mmlflash@yahoo.com>

        Mr. Callahan previously indicated availability only in the morning on Friday.
        What about 1:30pm on Tuesday 9/4?
        [Quoted text hidden]




served with 9/21/18 sanctions motion         10 of 13                             Exhibit A
    Case 1:18-cv-00124-GJQ-RSK ECF No. 77-1 filed 10/22/18 PageID.675 Page 12 of 14




                                                                                  Wed, Aug 29, 2018
     sschultz@tanisschultz.com <sschultz@tanisschultz.com>
                                                                                         at 2:06 PM
     To: Daniel Rudd <daniel@stock20.com>, Michelle McLean <michellem@bolhouselaw.com>
     Cc: "Callahan, Robert" <RCallahan@plunkettcooney.com>, "Oostema, Cherie"
     <COostema@plunkettcooney.com>, "admin@tanisschultz.com" <admin@tanisschultz.com>, Sally Ray
     <sallyr@bolhouselaw.com>, "mmlflash@yahoo.com" <mmlflash@yahoo.com>

        I am also not available Friday afternoon. I can, however, be available at 1:30 on Tuesday Sept 4th.

        Steve Schultz
        TanisSchultz
        85 Campau N.W. Suite 305
        Grand Rapids, MI 49503
        616 608-7149 work
        616 719-2221 fax
        616 291-4593 cell

        Email: sschultz@tanisschultz.com
        Web: www.tanisschultz.com

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        please immediately notify us by telephone and purge the original email immediately. Thank you.


                                                                              Wed, Aug 29, 2018 at 2:08
     Callahan, Robert <RCallahan@plunkettcooney.com>
                                                                                                    PM
     To: Daniel Rudd <daniel@stock20.com>, Michelle McLean <michellem@bolhouselaw.com>
     Cc: Steve Schultz <sschultz@tanisschultz.com>, "Oostema, Cherie" <COostema@plunkettcooney.com>,
     "admin@tanisschultz.com" <admin@tanisschultz.com>, Sally Ray <sallyr@bolhouselaw.com>,
     "mmlflash@yahoo.com" <mmlflash@yahoo.com>


     I	am	available	next	Tuesday	at	that	time.


     Daniel Rudd <daniel@stock20.com>                                    Wed, Aug 29, 2018 at 2:46 PM
     To: "Callahan, Robert" <RCallahan@plunkettcooney.com>
     Cc: Michelle McLean <michellem@bolhouselaw.com>, Steve Schultz <sschultz@tanisschultz.com>,
     "Oostema, Cherie" <COostema@plunkettcooney.com>, "admin@tanisschultz.com"
     <admin@tanisschultz.com>, Sally Ray <sallyr@bolhouselaw.com>, "mmlflash@yahoo.com"
     <mmlflash@yahoo.com>


        Thank you Mr. Callahan and Mr Schultz,
        Would either you be willing to initiate the conference call from your office?
        I can probably make it work, but the quality may be poor.

        Ms. McLean, can you make next Tuesday at 1:30 work?




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    Case 1:18-cv-00124-GJQ-RSK ECF No. 77-1 filed 10/22/18 PageID.676 Page 13 of 14




                                                                               Wed, Aug 29, 2018 at 2:49
     Michelle McLean <michellem@bolhouselaw.com>
                                                                                                     PM
     To: "sschultz@tanisschultz.com" <sschultz@tanisschultz.com>, Daniel Rudd <daniel@stock20.com>
     Cc: "Callahan, Robert" <RCallahan@plunkettcooney.com>, "Oostema, Cherie"
     <COostema@plunkettcooney.com>, "admin@tanisschultz.com" <admin@tanisschultz.com>, Sally Ray
     <sallyr@bolhouselaw.com>, "mmlflash@yahoo.com" <mmlflash@yahoo.com>

        Sorry	all,	I	am	not	available	at	1:30pm	on	Tuesday,	but	could	be	available	Thurs.	Sept	6	at	9:00am.


     Daniel Rudd <daniel@stock20.com>                                       Wed, Aug 29, 2018 at 2:56 PM
     To: Michelle McLean <michellem@bolhouselaw.com>
     Cc: "sschultz@tanisschultz.com" <sschultz@tanisschultz.com>, "Callahan, Robert"
     <RCallahan@plunkettcooney.com>, "Oostema, Cherie" <COostema@plunkettcooney.com>,
     "admin@tanisschultz.com" <admin@tanisschultz.com>, Sally Ray <sallyr@bolhouselaw.com>,
     "mmlflash@yahoo.com" <mmlflash@yahoo.com>

        Ms. Mclean, do you have anything open prior to next Thursday? I think that might
        literally be the last hour for compliance with the order's stated deadline: "at least
        seven days before the Rule 16 conference" (which is the following Thurs. at
        10am).
        [Quoted text hidden]



                                                                                    Wed, Aug 29, 2018 at 3:00
     Michelle McLean <michellem@bolhouselaw.com>
                                                                                                          PM
     To: Daniel Rudd <daniel@stock20.com>
     Cc: "sschultz@tanisschultz.com" <sschultz@tanisschultz.com>, "Callahan, Robert"
     <RCallahan@plunkettcooney.com>, "Oostema, Cherie" <COostema@plunkettcooney.com>,
     "admin@tanisschultz.com" <admin@tanisschultz.com>, Sally Ray <sallyr@bolhouselaw.com>,
     "mmlflash@yahoo.com" <mmlflash@yahoo.com>

        Friday	afternoon	I	do	have	openings.


     Michelle McLean <michellem@bolhouselaw.com>                           Wed, Aug 29, 2018 at 3:03 PM
     To: "sschultz@tanisschultz.com" <sschultz@tanisschultz.com>, Daniel Rudd <daniel@stock20.com>
     Cc: "Callahan, Robert" <RCallahan@plunkettcooney.com>, "Oostema, Cherie"
     <COostema@plunkettcooney.com>, "admin@tanisschultz.com" <admin@tanisschultz.com>, Jake
     Lombardo <jakel@bolhouselaw.com>

        Someone	from	my	office	can	cover	for	me	and	will	be	on	the	Sept.	4	at	1:30pm	conference	call.	We	
        can	use	my	firm’s	phone	conference	account.	Everyone	must	call	1-605-475-6720		and	then	enter	
        the	access	code	#5655894.

        	




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     Daniel Rudd <daniel@stock20.com>                                       Wed, Aug 29, 2018 at 3:11 PM
     To: Michelle McLean <michellem@bolhouselaw.com>
     Cc: "sschultz@tanisschultz.com" <sschultz@tanisschultz.com>, "Callahan, Robert"
     <RCallahan@plunkettcooney.com>, "Oostema, Cherie" <COostema@plunkettcooney.com>,
     "admin@tanisschultz.com" <admin@tanisschultz.com>, Jake Lombardo <jakel@bolhouselaw.com>

        Excellent, thank you Ms. McLean.
        9/4/18 at 1:30 -- per the call instructions provided by Ms. McLean.

        Please feel free to forward your portions of the report to me prior to the conference
        call. I'll circulate a draft of the joint report sometime prior to 9am on Tuesday
        morning (or before then if I've heard from everyone). For your convenience, I'm
        pasting below what Mr. Callahan has already provided (in his previous e-mail):

        Here	are	my	thoughts	on	inclusions	in	the	Joint	Status	Report:
        Rule	26	Disclosures	–	Plaintiff	to	Defendants	–	October	13;	Defendants	to	Plaintiff	November	13
        Limits	on	Discovery	–	Those	presumptive	limits	set	forth	in	the	Order	setting	the	hearing,	with	
        Interrogatories	being	25	single	part
        Time	for	Discovery	–	6	months
        No	Consent	to	Magistrate	Judge
        Motions	for	Joinder	and	Amendment	–	has	closed
        Experts	–	I	do	not	see	the	need	for	any	in	this	lawsuit
        Disclosure	of	ESI	–	through	Disc
        Attorney-Client	and	Work	Product	disclosure	–	We	have	“claw	back”	language	which	can	be	used	for	this
        Motions	to	Dismiss	or	Summary	Judgment	–	the	Norton	Shores	Defendants	anticipate	filing
        Alternative	Dispute	Resolution	–	Norton	Shores	defendants	believe	this	is	the	unusual	case	in	which	it	should	
        not	be	ordered
        Possibility	of	Settlement	–	Norton	Shores	defendants	believe	there	is	none
        Anticipated	Length	of	Trial	–	4	days,	with	2	allocated	to	plaintiff,	and	2	for	the	defendants.

        [Quoted text hidden]



     Callahan, Robert <RCallahan@plunkettcooney.com>                    Wed, Aug 29, 2018 at 3:18 PM
     To: Michelle McLean <michellem@bolhouselaw.com>, "sschultz@tanisschultz.com"
     <sschultz@tanisschultz.com>, Daniel Rudd <daniel@stock20.com>
     Cc: "Oostema, Cherie" <COostema@plunkettcooney.com>, "admin@tanisschultz.com"
     <admin@tanisschultz.com>, Jake Lombardo <jakel@bolhouselaw.com>

        Thanks	you	Michelle.

        	

        From: Michelle McLean [mailto:michellem@bolhouselaw.com]
        Sent: Wednesday, August 29, 2018 3:03 PM
        To: sschultz@tanisschultz.com; Daniel Rudd
        Cc: Callahan, Robert; Oostema, Cherie; admin@tanisschultz.com; Jake Lombardo

        [Quoted text hidden]
        [Quoted text hidden]




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